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                                                                                                                  FILED




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF WYOMING                                                            3:57 pm, 10/6/21
                                                                                                     U.S. Magistrate Judge
UNITED STATES OF AMERICA                                   ✔   Violation Notice    Information      Complaint
                                               Plaintiff
                                                                             5:21-PO-00524-MLC-1
vs                                                         Case Number

SAMANTHA R DEHRING
                                              Defendant
                  Violating closures and use limits                 (1)(E1059054)
                                                    Citation Number
                  (1)                                               (2)(E1059055)
                  Feeding, touching, teasing,
Violation Charged frightening or intentional
                  disturbing of wildlife
                  (2)

Date Violation Notice Issued 05/10/2021                    Place      Yellowstone National Park
                PETTY OFFENSES/MISDEMEANORS - PROCEEDINGS SHEET
Time 2:17-3:15                                             Interpreter
Date October 6, 2021                                       Interpreter Telephone

Before the Honorable Mark L. Carman

             Jessica Jarvis                                                                Zoom
                 Clerk                              Probation                             Reporter
         Stephanie Hambrick
         Asst. U.S. Attorney                       JAG Officer                            Marshal
     Failed to appear         Warrant issued on
✔    Appeared        By telephone
                      ✔

                     Voluntarily
                      ✔                  In Custody
     Defendant filed financial affidavit and is informed of consequences if any false information is given
✔    Attorney appearing        Ethan Morris
                                      FPD          PANEL-CJA             ✔   RETAINED
     Attorney waived

     Court orders case continued to                             at
        reason:


     Bail is set at
                          P/R-No Amount         Unsecured            Cash/Surety



WY 59                                                                                                Rev. 07/29/2021
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Petty Offenses/Misdemeanors Minute Sheet
5:21-PO-00524-MLC-1



     Conditions of release


     COMPLETE THIS SECTIONS FOR ALL CLASS A MISDEMEANOR CASES:
       Defendant advised of the right to trial, judgment, and sentencing by a District Judge (Class A
       Misdemeanor).
       Defendant consents to proceed before the Magistrate Judge and expressly and specifically waives
       trial, judgment, and sentencing by a District Judge (Class A Misdemeanor).
                      This consent was made          orally          in writing
 ✔   Informed of charges and rights             Date October 6, 2021
 ✔   Defendant arraigned                        Date October 6, 2021
 ✔   Court accepts plea                    Defendant enters ✔ Guilty                   Not Guilty Plea
     Trial    Witnesses

 ✔   Disposition
             Not Guilty
          ✔ Guilty                  E1059054
          ✔ Dismissed               E1059055 with prejudice
             Collateral Forfeited
             Nolo Contendere
     PSI ordered
 ✔   Sentence         Date October 6, 2021
     Imposition of jail sentence suspended
 ✔   Committed to custody for a period of 4 days will surrender by 12:00pm on 10/15/21 to GCDC,
                                            release 9:00am 10/19/2021
 ✔   Probation for a period of       one year
             With Supervision          ✔ Without Supervision

 ✔   Special Conditions of Probation
               Obey all laws, pay fines and community service payment by 09/01/2022, ban from
               Yellowstone National Park during period of probation
 ✔   Fine           1000.00                   Payable to CVB by 09/01/2022
     Restitution                              To
 ✔   Community Service 1000.00                To      Yellowstone Forever Wildlife Protection Fund
 ✔   Special Assessment 10.00
 ✔   Processing fee: $ 30.00
     Defendant advised of right to appeal
 ✔   Other written judgment to follow




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